08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 1 of 7
08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 2 of 7
08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 3 of 7
08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 4 of 7
08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 5 of 7
08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 6 of 7
08-13555-mg   Doc 22630   Filed 11/16/11 Entered 11/23/11 10:58:46   Main Document
                                      Pg 7 of 7
